Case 3:18-cv-01059-NJR Document 145 Filed 05/19/20 Page 1 of 5 Page ID #619




                           UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF ILLINOIS


MARION DIAGNOSTIC CENTER, LLC, et
al.,
                                                 Case No. 3:18-cv-01059
                            Plaintiffs,
                                                 Judge Nancy J. Rosenstengel
            v.

BECTON, DICKINSON, AND CO., et al.,

                            Defendants.


            AGREED MOTION TO EXTEND TIME FOR PLAINTIFFS TO FILE
                     A SECOND AMENDED COMPLAINT AND
             TO REQUEST ENTRY OF STIPULATED BRIEFING SCHEDULE

       Plaintiffs Marion Diagnostic Center LLC, Marion HealthCare, LLC, and Andron Medical

Associates, by their undersigned attorneys, respectfully request that this Court grant this agreed

motion to extend the deadline for Plaintiffs to file an amended complaint and for the parties to

brief any forthcoming motions to dismiss that complaint. In support of their request, Plaintiffs

state as follows:

       1.        On November 30, 2018, this Court issued a final judgment dismissing Plaintiffs’

operative complaint with prejudice. Dkt. 118. On December 27, 2018, Plaintiffs filed a timely

notice of appeal from the Court’s judgment. Dkt. 122. In a judgment dated March 5, 2020, the

United States Court of Appeals for the Seventh Circuit vacated this Court’s November 30, 2018

final judgment and remanded the case to this Court for further proceedings in accordance with

the Seventh Circuit’s opinion. Dkt. 130-2. On March 27, 2020, the Court of Appeals issued its

mandate to this Court. Dkt. 130.

       2.        The Seventh Circuit’s opinion stated that the Plaintiffs “should have an
Case 3:18-cv-01059-NJR Document 145 Filed 05/19/20 Page 2 of 5 Page ID #620




opportunity” to file an amended complaint in support of their claims against Defendants. Dkt.

130-2 (certified opinion) at 16. Accordingly, this Court entered a text order on April 6, 2020

directing Plaintiffs to file a second amended complaint by June 5, 2020. Dkt. 144.

       3.      Since the Court’s order, the parties have met and conferred about an appropriate

schedule for the filing of Plaintiffs’ second amended complaint and any potential motions to

dismiss by Defendants. In light of issues including the complexity of the factual and legal issues

raised in this case, the number of parties and counsel involved, and the disruption caused by the

ongoing COVID-19 crisis, the parties agree that a reasonable extension of time is warranted for

the filing of Plaintiffs’ second amended complaint and of Defendants’ answers or motions to

dismiss that amended complaint.

       4.      Plaintiffs thus respectfully request that the Court so-order the following schedule

that has been agreed to among the parties:

                     July 31, 2020: Plaintiffs file their second amended complaint.

                     October 16, 2020: Defendants file their answers or motions to dismiss
                      the second amended complaint.

                     December 18, 2020: Plaintiffs file their briefs in opposition to any
                      motions to dismiss the second amended complaint.

                     January 15, 2021: Defendants file replies in support of any motions to
                      dismiss to the extent such replies are permitted by Local Rule 7.1(c).

       5.      The parties agree that this motion shall not constitute waiver of any jurisdictional

defenses that may be available under Rule 12 of the Federal Rules of Civil Procedure, any

affirmative defenses under Rule 8 of the Federal Rules of Civil Procedure, or any other statutory

or common law defenses that may be available to Defendants. The parties further agree that this

motion shall not constitute agreement as to whether reply briefs are permitted under the Local

Rules in support of any forthcoming motions to dismiss.


                                                2
Case 3:18-cv-01059-NJR Document 145 Filed 05/19/20 Page 3 of 5 Page ID #621




       6.     This is the first request by any party for an extension of time either for the

Plaintiffs to file their second amended complaint or for the parties to brief any forthcoming

motion to dismiss that complaint. This motion is not made for purposes of delay, but to allow

the parties time to adequately address the complex factual and legal issues raised by the Seventh

Circuit’s opinion and Plaintiffs’ forthcoming second amended complaint.

       7.     All Plaintiffs consent to this motion. All Defendants have been consulted about,

and have consented to, this motion.

       8.     A draft order is attached to this motion and will also be submitted in a format

compatible with Microsoft Word to NJRpd@ilsd.uscourts.gov.



Dated: May 19, 2020                       Respectfully submitted,
Chicago, Illinois

R. Stephen Berry                                   /s/ Steven F. Molo
Berry Law PLLC                                     Steven F. Molo
(Admitted Pro Hac Vice)                            Allison Gorsuch
1717 Pennsylvania Avenue, N.W.                     MoloLamken LLP
Suite 850                                          300 North LaSalle Street
Washington, DC 20006                               Chicago, IL 60654
Telephone: (202) 296-3020                          Telephone: (312) 450-6700
Facsimile: (202) 296-3038                          Facsimile: (312) 450-6701
sberry@berrylawpllc.com                            smolo@mololamken.com
                                                   agorsuch@mololamken.com

Justin M. Ellis                                    Lee Goldsmith, J.D.-M.D.
MoloLamken LLP                                     Goldsmith & Goldsmith, LLP
430 Park Avenue                                    (Pro Hac Vice Petition Pending)
New York, NY 10022                                 Park 80 West, Plaza One
Telephone: (212) 607-8160                          250 Pehle Avenue, Suite 401
Facsimile: (212) 607-8161                          Saddle Brook, NJ 07336
jellis@mololamken.com                              Telephone: (201) 429-7892
                                                   Facsimile: (201) 291-9428
                                                   lee@goldsmithlegal.com



                        Attorneys for Plaintiffs and Proposed Class Co-Counsel

                                               3
Case 3:18-cv-01059-NJR Document 145 Filed 05/19/20 Page 4 of 5 Page ID #622




                           UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF ILLINOIS


MARION DIAGNOSTIC CENTER, LLC, et
al.,
                                                  Case No. 3:18-cv-01059
                             Plaintiffs,
                                                  Judge Nancy J. Rosenstengel
            v.

BECTON, DICKINSON, AND CO., et al.,

                             Defendants.


        [PROPOSED] ORDER EXTENDING TIME FOR PLAINTIFFS TO FILE
                     A SECOND AMENDED COMPLAINT
            AND ENTERING THE STIPULATED BRIEFING SCHEDULE

       IT IS HEREBY ORDERED, pursuant to the agreement of the parties:

       1.        The deadline for Plaintiffs to file their second amended complaint is hereby

extended to July 31, 2020.

       2.        The deadline for Defendants to answer or move to dismiss the second amended

complaint is hereby extended to October 16, 2020.

       3.        The deadline for Plaintiffs to file briefs in opposition to any motions to dismiss

the second amended complaint is hereby extended to December 18, 2020.

       4.        In the event that reply briefs in support of any motions to dismiss Plaintiffs’

second amended complaint are permitted under this Court’s Local Rules, the deadline for such

reply briefs is hereby extended to January 15, 2021.

Dated: May 19, 2020



                                              The Honorable Nancy J. Rosenstengel
                                              United States District Judge
Case 3:18-cv-01059-NJR Document 145 Filed 05/19/20 Page 5 of 5 Page ID #623




                               CERTIFICATE OF SERVICE

       I certify that I caused a copy of the foregoing Agreed Motion to Extend Time for

Plaintiffs to File a Second Amended Complaint and to Request Entry of the Stipulated Briefing

Schedule to be served on all counsel of record by filing it through the Court’s CM/ECF system.



                                                           /s/ Steven F. Molo
                                                           Steven F. Molo
                                                           MoloLamken LLP
                                                           300 N. LaSalle St.
                                                           Chicago, IL 60654
                                                           T: (312) 450 6700
                                                           F: (312) 450 6701
                                                           smolo@mololamken.com




                                               5
